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                                                        United States District Court
                                                        Central District of California


 UNITED STATES OF AMERICA vs.                                                Docket No.              CR 13-00052-MMM; CR 13-00789-MMM

 Defendant         Erasmus Kotey                                             Social Security No. 1         4     3     6

                                         JUDGMENT AND PROBATION/COMMITMENT ORDER

                                                                                                                      MONTH     DAY    YEAR
            In the presence of the attorney for the government, the defendant appeared in person on this date.             11   24      2014

  COUNSEL                                                            Matthew D. Kohn, Retained
                                                                            (Name of Counsel)

     PLEA          GUILTY, and the court being satisfied that there is a factual basis for the plea.              NOLO                 NOT
                                                                                                               CONTENDERE             GUILTY
  FINDING          There being a finding/verdict of GUILTY, defendant has been convicted as charged of the offense(s) of:

                   Count One of CR 13-00052-MMM:                 Health Care Fraud [18 U.S.C. § 1347]. Class C Felony.
                   Count One of CR 13-00789-MMM:                 Conspiracy to Commit Health Care Fraud [18 U.S.C. § 1349]. Class C
                                                                 Felony.

JUDGMENT The Court asked whether there was any reason why judgment should not be pronounced. Because no sufficient cause to the
AND PROB/ contrary was shown, or appeared to the Court, the Court adjudged the defendant guilty as charged and convicted and ordered
  COMM    that:
  ORDER

It is ordered that the defendant shall pay to the United States a special assessment of $200, which is due immediately.

It is ordered that the defendant shall pay restitution in the total amount of $3,535,297.34 pursuant to 18 U.S.C. § 3663A.

Defendant shall pay restitution in the total amount $3,535,297.34 to victims as set forth in a separate victim list prepared by the probation office
which this Court adopts and which reflects the Court's determination of the amount of restitution due to each victim. The victim list, which
shall be forwarded to the fiscal section of the clerk's office, shall remain confidential to protect the privacy interests of the victims.

The defendant shall make nominal monthly payments of at least 10% of defendant's gross income, but not less than $100, whichever is greater,
during the term of supervised release. Payments shall begin 30 days after the commencement of supervision. Nominal restitution payments are
ordered as the Court finds that the defendant's economic circumstances do not allow for either immediate or future payment of the amount
ordered.

The defendant shall be held jointly and severally liable with co-defendant Susanna Artsruni (Docket No. CR-13-00052-MMM) for the amount
of $2,667,124.67, and co-participant Mihran Yourik Megurian (CR13-00667-BRO) in the amount of $868,172.67, of restitution ordered in this
judgment. The victim's recovery is limited to the amount of its loss and the defendant's liability for restitution ceases if and when the victim
receives full restitution.

Pursuant to 18 U.S.C. § 3612(f)(3)(A), interest on the restitution ordered is waived because the defendant does not have the ability to pay
interest. Payments may be subject to penalties for default and delinquency pursuant to 18 U.S.C. § 3612(g).

The defendant shall comply with General Order No. 01-05.

All fines are waived as it is found that the defendant does not have the ability to pay a fine in addition to restitution.

Pursuant to the Sentencing Reform Act of 1984, it is the judgment of the Court that the defendant, Erasmus Kotey, is hereby committed on
Count One of the Indictment in Docket No. CR13-00052-MMM and Count One of the Indictment in Docket No. CR13-00789-MMM to the
custody of the Bureau of Prisons to be imprisoned for a term of 36 months. This term consists of 36 on each of Count One of the Indictment in
Docket No. CR13-00052-MMM and Count One of the Indictment in Docket No. CR13-00789-MMM, all such terms to run concurrently.

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Upon release from imprisonment, the defendant shall be placed on supervised release for a term of three years under the following terms and
conditions:

         1.           The defendant shall comply with the rules and regulations of the United States Probation Office, General Order
                     05-02, and General Order 01-05, including the three special conditions delineated in General Order 01-05.

         2.          During the period of community supervision, the defendant shall pay the special assessment and restitution in
                     accordance with this judgment's orders pertaining to such payment.

         3.          The defendant shall cooperate in the collection of a DNA sample from the defendant.

         4.          The defendant shall not engage, as whole or partial owner, employee or otherwise, in any business or profession that
                     bills Medicare or any other publicly funded health care benefit program without the express written approval of the
                     Probation Officer prior to engaging in such employment, business, or profession.

         5.          When not employed or excused by the Probation Officer for schooling, training, or other acceptable reasons, the
                     defendant shall perform 20 hours of community service per week as directed by the Probation Office.

         6.          The defendant shall apply all monies received from income tax refunds to the outstanding court-ordered financial
                     obligation. In addition, the defendant shall apply all monies received from lottery winnings, inheritance, judgments
                     and any anticipated or unexpected financial gains to the outstanding court-ordered financial obligation.

         7.          The drug testing condition mandated by statute is suspended based on the Court's determination that the defendant
                     poses a low risk of future substance abuse.

It is further ordered that the defendant surrender himself to the institution designated by the Bureau of Prisons on or before 12 noon,
August 3, 2015. In the absence of such designation, the defendant shall report on or before the same date and time, to the United
States Marshal located at: Roybal Federal Building, 255 East Temple Street, Los Angeles, California 90012.

The Court further recommends placement in Terminal Island; alternatively, it recommends placement in a facility located in Southern
California.

Defendant informed of right to appeal.




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On the Government's motion, all remaining count(s)/underlying indictments/informations, ordered dismissed.

Bond exonerated upon surrender.




 In addition to the special conditions of supervision imposed above, it is hereby ordered that the Standard Conditions of Probation
 and Supervised Release within this judgment be imposed. The Court may change the conditions of supervision, reduce or extend
 the period of supervision, and at any time during the supervision period or within the maximum period permitted by law, may issue
 a warrant and revoke supervision for a violation occurring during the supervision period.




 February 26, 2015
 Date                                                        MARGARET M. MORROW
                                                             UNITED STATES DISTRICT JUDGE

 It is ordered that the Clerk deliver a copy of this Judgment and Probation/Commitment Order to the U.S. Marshal or other qualified
 officer.

                                                             Clerk, U.S. District Court



 February 26, 2015                            By
 Filed Date                                                  Anel Huerta, Deputy Clerk




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 The defendant shall comply with the standard conditions that have been adopted by this court (set forth below).

                            STANDARD CONDITIONS OF PROBATION AND SUPERVISED RELEASE

                             While the defendant is on probation or supervised release pursuant to this judgment:
 1.    The defendant shall not commit another Federal, state or                10.   the defendant shall not associate with any persons engaged
       local crime;                                                                  in criminal activity, and shall not associate with any person
 2.    the defendant shall not leave the judicial district without the               convicted of a felony unless granted permission to do so by
       written permission of the court or probation officer;                         the probation officer;
 3.    the defendant shall report to the probation officer as                  11.   the defendant shall permit a probation officer to visit him or
       directed by the court or probation officer and shall submit                   her at any time at home or elsewhere and shall permit
       a truthful and complete written report within the first five                  confiscation of any contraband observed in plain view by
       days of each month;                                                           the probation officer;
 4.    the defendant shall answer truthfully all inquiries by the              12.   the defendant shall notify the probation officer within 72
       probation officer and follow the instructions of the                          hours of being arrested or questioned by a law enforcement
       probation officer;                                                            officer;
 5.    the defendant shall support his or her dependents and meet              13.   the defendant shall not enter into any agreement to act as an
       other family responsibilities;                                                informer or a special agent of a law enforcement agency
 6.    the defendant shall work regularly at a lawful occupation                     without the permission of the court;
       unless excused by the probation officer for schooling,                  14.   as directed by the probation officer, the defendant shall
       training, or other acceptable reasons;                                        notify third parties of risks that may be occasioned by the
 7.    the defendant shall notify the probation officer at least 10                  defendant’s criminal record or personal history or
       days prior to any change in residence or employment;                          characteristics, and shall permit the probation officer to
 8.    the defendant shall refrain from excessive use of alcohol                     make such notifications and to conform the defendant’s
       and shall not purchase, possess, use, distribute, or                          compliance with such notification requirement;
       administer any narcotic or other controlled substance, or               15.   the defendant shall, upon release from any period of
       any paraphernalia related to such substances, except as                       custody, report to the probation officer within 72 hours;
       prescribed by a physician;                                              16.   and, for felony cases only: not possess a firearm, destructive
 9.    the defendant shall not frequent places where controlled                      device, or any other dangerous weapon.
       substances are illegally sold, used, distributed or
       administered;


  X    The defendant will also comply with the following special conditions pursuant to General Order 01-05 (set forth below).

      STATUTORY PROVISIONS PERTAINING TO PAYMENT AND COLLECTION OF FINANCIAL SANCTIONS

           The defendant shall pay interest on a fine or restitution of more than $2,500, unless the court waives interest or unless the fine
 or restitution is paid in full before the fifteenth (15th) day after the date of the judgment pursuant to 18 U.S.C. §3612(f)(1). Payments
 may be subject to penalties for default and delinquency pursuant to 18 U.S.C. §3612(g). Interest and penalties pertaining to restitution
 , however, are not applicable for offenses completed prior to April 24, 1996.

          If all or any portion of a fine or restitution ordered remains unpaid after the termination of supervision, the defendant shall pay
 the balance as directed by the United States Attorney’s Office. 18 U.S.C. §3613.

          The defendant shall notify the United States Attorney within thirty (30) days of any change in the defendant’s mailing address
 or residence until all fines, restitution, costs, and special assessments are paid in full. 18 U.S.C. §3612(b)(1)(F).

           The defendant shall notify the Court through the Probation Office, and notify the United States Attorney of any material change
 in the defendant’s economic circumstances that might affect the defendant’s ability to pay a fine or restitution, as required by 18 U.S.C.
 §3664(k). The Court may also accept such notification from the government or the victim, and may, on its own motion or that of a party
 or the victim, adjust the manner of payment of a fine or restitution-pursuant to 18 U.S.C. §3664(k). See also 18 U.S.C. §3572(d)(3)
 and for probation 18 U.S.C. §3563(a)(7).

           Payments shall be applied in the following order:

                      1. Special assessments pursuant to 18 U.S.C. §3013;
                      2. Restitution, in this sequence:
                                Private victims (individual and corporate),
                                Providers of compensation to private victims,
                                The United States as victim;
                      3. Fine;
                      4. Community restitution, pursuant to 18 U.S.C. §3663(c); and
                      5. Other penalties and costs.


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                           SPECIAL CONDITIONS FOR PROBATION AND SUPERVISED RELEASE

          As directed by the Probation Officer, the defendant shall provide to the Probation Officer: (1) a signed release authorizing credit
 report inquiries; (2) federal and state income tax returns or a signed release authorizing their disclosure and (3) an accurate financial
 statement, with supporting documentation as to all assets, income and expenses of the defendant. In addition, the defendant shall not
 apply for any loan or open any line of credit without prior approval of the Probation Officer.

         The defendant shall maintain one personal checking account. All of defendant’s income, “monetary gains,” or other pecuniary
 proceeds shall be deposited into this account, which shall be used for payment of all personal expenses. Records of all other bank
 accounts, including any business accounts, shall be disclosed to the Probation Officer upon request.

          The defendant shall not transfer, sell, give away, or otherwise convey any asset with a fair market value in excess of $500
 without approval of the Probation Officer until all financial obligations imposed by the Court have been satisfied in full.

                            These conditions are in addition to any other conditions imposed by this judgment.



                                                                 RETURN

 I have executed the within Judgment and Commitment as follows:
 Defendant delivered on                                                                       to
 Defendant noted on appeal on
 Defendant released on
 Mandate issued on
 Defendant’s appeal
 determined on
 Defendant delivered on                                                                    to
     at
     the institution designated by the Bureau of Prisons, with a certified copy of the within Judgment and Commitment.

                                                                      United States Marshal


                                                      By
            Date                                                      Deputy Marshal




                                                             CERTIFICATE

 I hereby attest and certify this date that the foregoing document is a full, true and correct copy of the original on file in my office,
 and in my legal custody.

                                                                      Clerk, U.S. District Court


                                                      By
            Filed Date                                                Deputy Clerk




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                                            FOR U.S. PROBATION OFFICE USE ONLY


Upon a finding of violation of probation or supervised release, I understand that the court may (1) revoke supervision, (2) extend the
term of supervision, and/or (3) modify the conditions of supervision.

         These conditions have been read to me. I fully understand the conditions and have been provided a copy of them.


         (Signed)
                     Defendant                                                    Date




                     U. S. Probation Officer/Designated Witness                   Date




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